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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


UNITED STATES OF AMERICA ,                    )
                                              )
            Plaintiff,                        )
                                              )
      vs.                                     )   Case No. 4:07CR00061 DJS (AGF)
                                              )
SEAN TAYLOR,                                  )
                                              )
            Defendant.                        )


                                         ORDER

       This matter is before the Court on the motion for additional time to file pretrial

motions and to continue the evidentiary hearing (Doc. #69), filed by Defendant on

February 14, 2007. This Court cannot grant Defendant the full relief he requests without

a continuance of the trial setting, which Defendant has not properly requested in his

current motion.

       Accordingly,

       IT IS HEREBY ORDERED that Defendant’s motion for additional time to file

pretrial motions and to continue the evidentiary hearing (Doc. #69) is Granted in part

and Denied in part, as follows:

       a. Defendant shall have until Wednesday, February 21, 2007, to file any pretrial

motions or waiver of motions. The government shall have until Tuesday, February 27,

2007 to respond.
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       b. The evidentiary hearing is continued to Wednesday, February 28, 2007, at

9:00 a.m.

       IT IS FURTHER ORDERED that in the event Defendant obtains a continuance

of the trial setting, by filing an appropriation motion with the District Judge, the

undersigned will consider a request by Defendant to further extend the pretrial deadlines.



                                            ___________________________________
                                            AUDREY G. FLEISSIG
                                            UNITED STATES MAGISTRATE JUDGE

Dated this 14th day of February, 2007.
